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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 JANE DOE 1, JANE DOE 2, JANE DOE 3,               )
 JANE DOE 4, and JANE DOE 5,                       )
                                                   )
         Plaintiffs,                               )     Civil Action No. 17-cv-1597 (CKK)
                                                   )
                         v.                        )
                                                   )
 DONALD J. TRUMP, in his official capacity as )
 President of the United States; JAMES N.          )
 MATTIS, in his official capacity as Secretary of )
 Defense; JOSEPH F. DUNFORD, JR., in his           )
 official capacity as Chairman of the Joint Chiefs )
 of Staff; the UNITED STATES DEPARTMENT )
 OF THE ARMY; RYAN D. MCCARTHY, in                 )
 his official capacity as Secretary of the Army;   )
 the UNITED STATES DEPARTMENT OF                   )
 THE AIR FORCE; HEATHER A. WILSON, in )
 her official capacity as Secretary of the Air     )
 Force; the UNITED STATES COAST GUARD; )
 ELAINE C. DUKE, in her official capacity as       )
 Secretary of Homeland Security; and the           )
 UNITED STATES OF AMERICA,                         )
                                                   )
         Defendants.
                                                   )

                [PROPOSED] ORDER GRANTING MOTION FOR
        ADMISSION OF ATTORNEY ALAN E. SCHOENFELD PRO HAC VICE

       The Court has reviewed the Plaintiffs’ Motion for Admission of Attorney Alan E.

Schoenfeld Pro Hac Vice. Upon consideration of that motion, the Court grants attorney Alan E.

Schoenfeld pro hac vice admission to this Court.



SO ORDERED.


DATE: __________________
                                                   Hon. Colleen Kollar-Kotelly
                                                   United States District Judge
